         Case 1:19-cr-00018-ABJ Document 216 Filed 09/23/19 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                                   Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                Defendant.


                   NOTICE OF FILING OF REDACTED EXHIBIT LIST

       The United States of America, by and through Jessie Liu, United States Attorney for the

District of Columbia, hereby files a redacted version of its Exhibit List pursuant to the Court’s

Minute Order dated September 9, 2019.


                                                    JESSIE K. LIU
                                                    U.S. Attorney for the District of Columbia

                                               By: /s/
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Date: September 23, 2019
